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                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                              DISTRICT OF COLORADO

     TRACY and RON FULTZ,                         )
                                                  )
                   Plaintiff                      )
                                                  )
            v.                                    ) Case No.: 1:15-cv-02738-WYD
                                                  )
     FRESH VIEW SOLUTIONS.,
                                                  )
                 Defendant                        )
                                                  )

                          NOTICE OF VOLUNTARY DISMISSAL


     TO THE CLERK:

            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

     dismisses the Complaint with prejudice.




     Dated: February 29, 2016                   BY: /s/ Craig Thor Kimmel
                                                Craig Thor Kimmel, Esquire
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                                       Certificate of Service

            I hereby certify that on this 29th day of February, 2016, a true and correct copy of

     the foregoing pleading served via mail to the below:



      Manuel H. Newburger, Esq.
      Barron & Newburger, PC
      1212 Guadalupe, Suite 104
      Austin, TX 78701-1837



                                                   /s/ Craig Thor Kimmel
                                                   Craig Thor Kimmel, Esquire
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